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                   IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII


  ELISABETH SWAN AND TRACY                    CIV. NO. 21-00052 JMS-KJM
  O’ROURKE,
                                              ORDER GRANTING IN PART AND
              Plaintiffs,                     DENYING IN PART PLAINTIFFS’
                                              MOTION FOR PARTIAL
        vs.                                   SUMMARY JUDGMENT

  KARLO TANJUAKIO, SION LEE, ET
  AL.,

              Defendants.


    ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFFS’
           MOTION FOR PARTIAL SUMMARY JUDGMENT

              Plaintiffs Elisabeth Swan and Tracy O’Rourke (collectively,

  “Plaintiffs”) have filed a Motion for Partial Summary Judgment (“Motion”) against

  Defendant Karlo Tanjuakio. ECF No. 60. Having reviewed the evidentiary

  record, and considered all briefing and the oral argument from the October 12,

  2021 hearing, the court GRANTS Plaintiffs’ Motion in part and DENIES it in part.

              Plaintiffs have a heavy task in moving affirmatively for summary

  judgment under Federal Rule of Civil Procedure 56 on claims for which they have

  the burden of proof. See, e.g., C.A.R. Transp. Brokerage Co. v. Darden Rests.,

  Inc., 213 F.3d 474, 480 (9th Cir. 2000) (“When the party moving for summary
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  judgment would bear the burden of proof at trial, ‘it must come forward with

  evidence which would entitle it to a directed verdict if the evidence went

  uncontroverted at trial.’”) (quoting Houghton v. South, 965 F.2d 1532, 1536 (9th

  Cir. 1992)). A plaintiff “must establish beyond peradventure all of the essential

  elements of the claim . . . to warrant judgment in his favor.” Fontenot v. Upjohn

  Co., 780 F.2d 1190, 1194 (5th Cir. 1986). A genuine dispute of material fact as to

  any element, taking any inferences in favor of the Defendants, precludes entry of

  summary judgment. See, e.g., Friedman v. Live Nation Merch., Inc., 833 F.3d

  1180, 1184 (9th Cir. 2016).

                  Applying those standards, the court GRANTS the Motion in part;

  Plaintiffs have established the following facts:

                  (1) The March 25, 2016 GoLeanSixSigma.com Partner Agreement

  (“Partner Agreement”) is a valid and enforceable contract, establishing a

  partnership with Swan, O’Rourke, Tanjuakio, and Sion Lee as partners, ECF No.

  30-1 at PageID # 541; and

                  (2) Under the Partner Agreement, Swan, O’Rourke, Tanjuakio and

  Lee each owned 25% of “GoLeanSixSigman.com and all products offered on the

  website,” id.




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                It follows as matters of Hawaii law from those two facts that (1) the

  partners owe fiduciary duties to each other and to the GoLeanSixSigma

  partnership, see, e.g., Haw. Rev. Stat. § 425-123; and (2) Plaintiffs are entitled to

  access the books and records of the GoLeanSixSigma partnership, see, e.g., Haw.

  Rev. Stat. § 425-122.

                In all other respects, the Motion is DENIED. Specifically, the court

  denies Plaintiffs’ request to (1) establish the parties’ respective share of profits;

  and (2) find that Tanjuakio breached contractual or fiduciary duties. Although the

  record was certainly sufficient for purposes of Plaintiffs’ motion for temporary

  restraining order to establish that Plaintiffs are likely to succeed on their claim that

  Tanjuakio breached contractual or fiduciary duties, see ECF No. 25, the record is

  insufficient for the court to grant summary judgment on that point.

                In short, Plaintiffs’ Motion for Partial Summary Judgment, ECF No.

  60, is GRANTED in part and DENIED in part.

                IT IS SO ORDERED.
                DATED: Honolulu, Hawaii, October 20, 2021.

                                                     /s/ J. Michael Seabright
                                                    J. Michael Seabright
                                                    Chief United States District Judge



  Swan v. Tanjuakio, Civ. No. 21-00052 JMS-KJM, Order Granting in Part and Denying in Part
  Plaintiffs’ Motion for Partial Summary Judgment

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